     Case 2:05-cv-01935-MCE-GGH Document 157 Filed 12/13/05 Page 1 of 2


 1    Robert K. Phillips - SBN 135088
      Kristin L. Oliveira - SBN 204384
 2    PHILLIPS, SPALLAS & ANGSTADT LLP
      650 California Street, 10th Floor
 3    San Francisco, CA 94108
      Telephone: (415) 278-9400
 4    Facsimile: (415) 278-9411
 5    Attorneys for Defendant
      THE GAP, INC.
 6
 7
 8
 9
                                  UNITED STATES DISTRICT COURT
10
                                 EASTERN DISTRICT OF CALIFORNIA
11
12    GARY PALMER,                          )               Case No. 2:05-CV-01935-MCE-GGH
                                            )
13                Plaintiff,                )
                                            )               STIPULATION FOR EXTENSION OF
14    v.                                    )               TIME AND ORDER FOR DEFENDANT
                                            )               THE GAP, INC. TO FILE RESPONSE
15    CHELSEA FINANCING PARTNERSHIP, )                      TO PLAINTIFF’S COMPLAINT
      LP, ET AL.,                           )
16                                          )
                  Defendants.               )
17                                          )
      _____________________________________ )
18
19           PLAINTIFF GARY PALMER, by and through his attorneys of record, Law Offices of
20    Lynn Hubbard, and DEFENDANT THE GAP, INC., by and through its counsel of record,
21    Phillips, Spallas & Angstadt LLP, agree and herein stipulate as follows:

22           PLAINTIFF has filed suit against multiple defendants in the above entitled action,

23    including defendant THE GAP, INC. PLAINTIFF has effected service on defendant THE

24    GAP, INC. Since such service, the parties have been actively engaged in settlement

25    discussions. To permit the parties to continue such discussions without added obligations and

26    expense, PLAINTIFF and DEFENDANT THE GAP, INC. stipulate and agree to continue the

27    time by which defendant THE GAP, INC. must file a responsive pleading up to and including

28    December 30, 2005.



                                                      -1-
     Case 2:05-cv-01935-MCE-GGH Document 157 Filed 12/13/05 Page 2 of 2


 1           Nothing in this stipulation is intended to waive any defense that DEFENDANT THE
 2    GAP, INC. may raise against the allegations in the Complaint.
 3
 4    IT IS SO STIPULATED.

 5                                                LAW OFFICES OF LYNN HUBBARD

 6
 7    Dated: December 8, 2005                     __________/S/________________
                                                  Lynn Hubbard
 8                                                Attorney for Plaintiff
 9
10                                                PHILLIPS, SPALLAS & ANGSTADT LLP

11    Dated: December 8, 2005                     _________/S/_________________
                                                  Kristin L. Oliveira
12
                                                  Attorney for Defendant THE GAP, INC.
13
14
                                                ORDER
15
             Good cause having been found, IT IS ORDERED that DEFENDANT THE GAP, INC.
16
      shall have up to and including December 30, 2005, to file a response to PLAINTIFF’S
17
      Complaint.
18
19    IT IS SO ORDERED:
20
21    Dated: December 13, 2005

22                                            __________________________________
                                              MORRISON C. ENGLAND, JR
23
                                              UNITED STATES DISTRICT JUDGE
24
25
26
27
28


                                                    -2-
